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                                                                                        Anne M. Collart

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                                                                   January 22, 2024


VIA ECF

Honorable Sidney H. Stein
United Stated District Judge
Southern District of New York
500 Pearl Street, Courtroom 23A
New York, New York 10007

           Re:          United States of America v. Menendez, et al.,
                        Dkt. No. 23-cr-490-SHS


Dear Judge Stein:

        As Your Honor is aware, this Firm represents defendant Wael Hana in the above-captioned
matter. We write in response to the Court’s January 17, 2024 Order, ECF No. 147, directing the
parties to respond to the letters filed by Inner City Press, ECF No. 125, and The New York Times,
ECF No. 145, both of which challenge the propriety of redactions in documents submitted by
Senator Menendez in support of his motions to dismiss the second superseding indictment.

        Although not expressly referenced in the letters from the press, ECF Nos. 125, 145, Mr.
Hana has also filed redacted documents in support of his motions, ECF Nos. 139-143. As is the
case with Senator Menendez’s filings, the redacted portions of the documents filed by Mr. Hana
contain or concern material that has been designated by the Government under the protective order
in this matter, ECF No. 55, as “Attorney’s Possession Only” or “Attorney’s Eyes Only.” Mr. Hana
has no independent basis to seek to shield this information from the public, and indeed, has not
himself had access to some of the redacted information, which he is precluded from seeing
(whether appropriately or not) under the Government’s “Attorney’s Eyes Only” designations.
Accordingly, Mr. Hana does not object to the Court unsealing his filings and requiring the filing
of unredacted versions of his motion and supporting documents on the public docket.

           Thank you for your kind consideration of this matter.

                                                                   Respectfully submitted,

                                                                   s/ Anne M. Collart
                                                                   Anne M. Collart

cc: All counsel of record (via ECF)



New Jersey New York Pennsylvania Delaware Washington, DC Florida
                                                                                            gibbonslaw.com
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    Innovations\iCreate\iTemplates\iLetter\Standard Letter.icex
Title:                Standard Letter
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